Case 2:11-cv-00490-CG-N Document 29 Filed 08/31/12 Page 1 of 6           PageID #: 163




                IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

                                           )
                                           )
                                           )
ELTON L. JOHNSON,                          )
                                           )
      Plaintiff,                           )
                                           )
v.                                         )   CIVIL ACTION NO. 11-490-CG-N
                                           )
VICTOR NISSAN, INC.,                       )
a/k/a Victor Automotive, and               )
JERRY VICTOR,                              )
                                           )
      Defendants                           )

                                        ORDER

      This matter is before the court on defendants’ motion to enforce settlement

agreement (Doc. 19), plaintiff’s opposition thereto, filed as a motion to deny

enforcement of retraction letter (Doc. 27), and defendants’ reply (Doc. 28). For the

reasons explained below, the court finds that defendants’ motion should be granted.



                                   BACKGROUND

      On June 28, 2011, Johnson filed a complaint against Victor Nissan, Inc., and

Jerry Victor asserting claims for (1) discrimination in employment on the basis of race,

(2) wrongful termination of employment, (3) retaliation, and (4) breach of contract.

(Doc. 1-2). Plaintiff was represented by counsel throughout the case, until his

attorney, Danny W. Crenshaw moved to withdraw on June 28, 2012 and that motion

was granted by the court. (Docs. 24, 26). The parties agreed to settle the claims and
Case 2:11-cv-00490-CG-N Document 29 Filed 08/31/12 Page 2 of 6           PageID #: 164




plaintiff signed a General Release and Waiver Agreement on June 21, 2012. (Doc. 20-

1). In the agreement, the parties agreed that in exchange for payment of a sum of

money, plaintiff would release his claims against the defendants and would issue a

retraction of certain prior statements he made regarding the defendants. With regard

to the retraction, the agreement states the following:

             9. Although Releasor understands that he must comply with
      the terms and conditions of paragraph 8, he also agrees that he will
      publish the one page document that is attached to this General Release
      and Settlement Agreement as Exhibit A, which constitutes a retraction
      of a previous letter that he published and distributed to pastors and
      churches in Dallas County, which is attached as Exhibit B. This 4-
      page document (Exhibit B) contains the names of the pastors and
      churches to whom said retraction (Exhibit A) will be sent by U.S. mail
      by his attorney of record, Danny Crenshaw. Said letter (Exhibit A) will
      be mailed to the individuals listed in Exhibit B within 14 days of the
      date of the execution of this General Release and Waiver Agreement.

(Doc. 20-1, pp. 6-7). Plaintiff’s attorney emailed the signed agreement to defendants’

counsel on June 22, 2012 and sent the original signed document to defendants’ counsel

on June 25, 2012. (Docs. 20-2, 20-3). Later on June 25, 2012, Mr. Crenshaw notified

defense counsel that plaintiff had changed his mind about the settlement. Plaintiff

states that he has a problem with sending the retraction letter, contending that it is

full of lies and that his attorney, Mr. Crenshaw, misled him about the necessity of

issuing a retraction letter. According to plaintiff, his attorney proposed the retraction

without discussing it with him first. The plaintiff pleads for the mercy of the court,

and asks that he not be required to send out the retraction letter.


                                            2
Case 2:11-cv-00490-CG-N Document 29 Filed 08/31/12 Page 3 of 6           PageID #: 165




                                    DISCUSSION

      “A district court ordinarily has the power to enforce a settlement agreement

entered into by litigants while litigation is pending before the Court.” Hogan v.

Allstate Beverage Co., Inc., 821 F.Supp.2d 1274, 1278 (M.D. Ala. 2011) (citing

Massachusetts Cas. Ins. Co. v. Forman, 469 F.2d 259, 260 (5th Cir.1972) (per curiam)).

“ ‘[C]onstruction and enforcement of settlement agreements [are] governed by

principles of state law applicable to contracts generally.’ ” Burke v. Smith, 252 F.3d

1260, 1266 (11th Cir. 2001) (citation omitted).

      In Alabama, "valid settlement agreements are as binding on the parties as any

other contract" and will not be "reopened" absent proof of fraud, accident, mistake, or

duress. See Billy Barnes Enters, Inc. v. Williams, 982 So. 2d 494, 498-499 (Ala. 2007)

(citations omitted). To have an enforceable agreement, sufficient evidence that a

meeting of the minds occurred between the parties as to the terms of the settlement

must be apparent. See Harris v. Preskitt, 911 So. 2d 8, 14 (Ala. Civ. App. 2005). A

meeting of the minds is generally evidenced by a party's execution of a settlement

agreement, and in fact, under certain circumstances, a settlement will be binding on a

party even where the party has not executed a written settlement agreement. See,

e.g., ALA. CODE § 34-2-21 (1975) ("Any attorney has authority to bind his client, in any

action or proceeding, by any agreement in relation to such a case, made in writing, or

by any entry to be made on the minutes of the court."); Harris, 911 So. at 14 (holding


                                            3
Case 2:11-cv-00490-CG-N Document 29 Filed 08/31/12 Page 4 of 6            PageID #: 166




that where letters between the attorneys for the parties showed a meeting of the

minds as to settlement of the claims of the parties, an enforceable settlement

agreement arose, and the trial court could compel the plaintiff to execute a written

settlement agreement).

      Here, the defendants have provided the court with copies of an executed

settlement agreement and waiver and plaintiff does not deny signing the document.

Instead, defendant contends that he was misled by his own attorney. According to

plaintiff, his attorney led him to believe that he would have to issue a retraction letter

if he wanted to settle his claims, but it was reportedly his own attorney that suggested

the retraction letter. Although plaintiff feels he was misled, defendants may not have

agreed to settle for the sum offered if the retraction letter had not been included.

Moreover, plaintiff “voluntarily chose this attorney as his representative in the action,

and he cannot now avoid the consequences of the acts or omissions of this freely

selected agent.” Link v. Wabash Railroad Co., 370 U.S. 626, 633-634, 82 S.Ct. 1386,

1390, 8 L.Ed.2d 734 (1962); see also Barger v. City of Cartersville, 348 F.3d 1289, 1295

(11th Cir.2003) (“[I]f an attorney's conduct falls substantially below what is reasonable

under the circumstances, the client's remedy is against the attorney in a suit for

malpractice.” (quoting Link supra)). Plaintiff executed the General Release and

Waiver Agreement with full knowledge that in doing so he was agreeing to mail a copy

of the retraction letter to the pastors and churches listed in the attached document.


                                            4
Case 2:11-cv-00490-CG-N Document 29 Filed 08/31/12 Page 5 of 6              PageID #: 167




Plaintiff has not alleged that defendants or their counsel engaged in any fraudulent or

inappropriate conduct during their negotiation of the terms of the settlement.

Accordingly, the court finds that plaintiff has failed to offer a valid justification for

invalidating the agreement he executed. See Billy Barnes, supra (stating that

“settlement agreements may be reopened for reasons of fraud, accident, or mistake”

(citations omitted)); Nelson v. Estate of Nelson, 53 So.3d 922, 930 (Ala. Civ. App. 2010)

(finding agreement binding where plaintiff did “not allege that fraud or duress was

involved in the execution of the agreement or that she was in any way prevented from

seeking legal counsel.”); Brown v. Brown, 26 So.3d 1210, 1214 (Ala. Civ. App. 2007),

aff'd, 26 So.3d 1222 (Ala. 2009) (“in the absence of fraud or misrepresentation, a party

is bound by the terms of a contract, even if he fails to read it. The law is equally clear

that ordinarily when a competent adult, having the ability to read and understand an

instrument, signs a contract, he will be held to be on notice of all the provisions

contained in that contract and will be bound thereby.” (quoting Power Equip. Co. v.

First Alabama Bank, 585 So.2d 1291, 1296 (Ala.1991))).



                                      CONCLUSION

       For the reasons stated above, defendants’ motion to enforce settlement

agreement (Doc. 19), is GRANTED and plaintiff is hereby ORDERED to comply with

all of the terms of the General Release and Waiver Agreement including his


                                              5
Case 2:11-cv-00490-CG-N Document 29 Filed 08/31/12 Page 6 of 6         PageID #: 168




agreement to mail the agreed retraction letter to the pastors and churches listed in

Exhibit B of the General Release and Waiver Agreement.

      DONE and ORDERED this 31st day of August, 2012.



                                       /s/ Callie V. S. Granade
                                       UNITED STATES DISTRICT JUDGE




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